                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  (DANVILLE DIVISION)


  UNITED STATES OF AMERICA                    )
                                              )
  v.                                          )       Case Number: 4:18CR00011-04
                                              )
  DASHAUN LAMAR TRENT                         )


       DEFENDANT’S RESPONSE TO GOVERNMENT’S WITHDRAWAL OF APPEAL


         COMES NOW Your Defendant, Dashaun Lamar Trent, and hereby gives notice to

  the United States that, notwithstanding the filing by the United States withdrawing her

  appeal [ECF 637], the jurisdiction of this Court has been divested and now lies with the

  United States Court of Appeals for the Fourth Circuit until such time as that Court issues

  its mandate returning jurisdiction to back to the district court. Counsel for the United States

  do not have the authority, statutory or otherwise, to declare as “moot”1 any particular

  defendant’s motion to stay proceedings. As Judge Easterbrook clearly, and without any

  ambiguity, noted: “[j]ust as the notice of appeal transfers jurisdiction to the court of appeals,

  so the mandate returns it to the district court. Until the mandate issues, the case is “in” the

  court of appeals and any action by the district court is a nullity.2

         The case at bar is now “in” the Fourth Circuit and trial counsel for Dashaun Lamar

  Trent are now appellate counsel as evidenced by order dated August 22, 2019, wherein


         1
                United States’ Notice of Withdrawal of Notice of Appeal [ECF 637].
         2
                 Kusay v. United States, 62 F.3d 192, 194 (7th Cir. 1995) citing United States v.
  Wells, 766 F.2d 12, 19 (1st Cir.1985); Zaklama v. Mt. Sinai Medical Center, 906 F.2d 645, 649
  (11th Cir.1990); 16 Charles Alan Wright, Arthur R. Miller, Edward H. Cooper & Eugene
  Gressman, Federal Practice & Procedure Sec. 3949 at 359 (1977).



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  the United States Court of Appeals for the Fourth Circuit appointed Christopher Karl

  Kowalczuk and Patrick Jon Kenney as lead counsel and co-counsel respectively in case

  number 19-4607 on the Fourth Circuit’s docket.

                                             GOVERN YOURSELF ACCORDINGLY,

                                             Respectfully submitted,

                                             DASHAUN LAMAR TRENT

                                             By /s/     Chris K. Kowalczuk



  Chris K. Kowalczuk, Esquire
  P. O. Box 11971
  Roanoke, VA 24022
  (540) 345-0101
         Counsel for the Defendant

  Patrick J. Kenney, Esquire
  P.O. Box 599
  Roanoke, VA 24004
  (540) 491-0423
         Counsel for the Defendant



                                 CERTIFICATE OF SERVICE

         I, Chris K. Kowalczuk, Esquire, hereby certify that on this 22nd day of August, 2019,

  I electronically filed the foregoing with the Clerk of the Court using the CM/ECF system

  which will send notification of such filing to all counsel of record.

                                                      /s/   Chris K. Kowalczuk




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